                     IN THE DISTRICT COURT OF THE UNITED STATES
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                               CRIMINAL NO. 5:06CR35-9-V

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )                         ORDER
                                    )
CRYSTAL LEA CREWS,                  )
                  Defendant.        )
___________________________________ )

       THIS MATTER is before the Court on the Government’s “Motion For Revocation Of The

Magistrate Judge’s Order,” pursuant to 18 U.S.C. §3145(b), filed August 7, 2006. (Doc.#67)

Defendant’s detention hearing was held on August 7, 2006, before United States Magistrate Judge

Carl Horn. At the conclusion of that hearing, the Magistrate Judge found the Defendant eligible for

release on electronic monitoring subject to a $25,000.00 unsecured bond. Defendant was also

required to reside with her sister. The Magistrate Judge also requested that Defendant’s mother,

sister, and aunt co-sign the bond.

       This Court reviews de novo the magistrate judge's release order. 18 U.S.C. §3145(b);

United States v. Williams, 753 F.2d 329, 333 (4th Cir. 1985). The Court has reviewed the audio

recording of the detention hearing before Magistrate Judge Horn as well as the contents of the

criminal file in this matter. In addition, the Court has reviewed the Pretrial Services Report, which

recommends detention.

       The Bill of Indictment, returned June 28, 2006, charges Defendant with conspiring to

manufacture and possess with intent to distribute methamphetamine, a Schedule II controlled

substance, in violation of 21 U.S.C. §846, as well as two substantive possession offenses in

violation of 21 U.S.C. §§841(a)(1) and (b)(1)(A), and aiding and abetting the same in violation of

18 U.S.C. §2. The Indictment further alleges that the conspiracy offense involved at least five

hundred (500) grams of a mixture and substance containing a detectable amount of

methamphetamine. Defendant Crews is also charged with possession of a firearm during and in

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    Case 5:06-cr-00035-KDB-DCK             Document 92        Filed 08/14/06      Page 1 of 4
relation to, or in furtherance of, the drug conspiracy, in violation of 18 U.S.C. §924(c). (See Bill

of Indictment, Counts 1, 2, 13 and 14) Because the Grand Jury found that probable cause exists

that Defendant committed an offense for which a maximum term of imprisonment of ten (10) years

or more is prescribed, a rebuttable presumption arises that no condition or combination of

conditions will reasonably assure the appearance of the person as required and the safety of the

community. 18 U.S.C. §3142(e).

       In determining whether there are conditions of release that will reasonably assure the

appearance of the Defendant and the safety of other persons and the community, the Court

considers all evidence regarding:

       (1)     the nature and circumstances of the offense charged (including whether the offense
               if a crime of violence or involves a narcotic drug);
       (2)     the weight of the evidence against the person;
       (3)     the history and characteristics of the person, including —
                        (A) the person’s character, physical and mental condition, family ties,
                        employment, financial resources, length of residence in the community,
                        community ties, past conduct, history relating to drug or alcohol abuse,
                        criminal history, and record concerning appearances at court proceedings;
                        and
                        (B) whether, at the time of the current offense or arrest, the person was on
                        probation, on parole, or on other release pending trial, sentencing, appeal,
                        or completion of sentence for an offense under Federal, State, or local law;
                        and
       (4)     the nature and seriousness of the danger to any person or the community that
               would be posed by the person's release. . .

18 U.S.C. §3142(g).

       Upon review of these factors, the Court disagrees with the Magistrate Judge’s finding that

bond is appropriate at this time. The nature and circumstances of the offenses charged generally

favor detention in that the manufacturing and distribution of methamphetamine are serious

offenses.

       The weight of the evidence against Defendant Crews also favors detention. At the time of

Defendant’s arrest, she was with two (2) co-defendants in a vehicle in which drugs and guns were

discovered.


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    Case 5:06-cr-00035-KDB-DCK             Document 92        Filed 08/14/06     Page 2 of 4
        Similarly, an analysis of the history and characteristics of the Defendant favors detention.

As noted in the Pretrial Services Report, Defendant is twenty (20) years old and in her third

trimester of pregnancy.1 Defendant was born in Iredell County, North Carolina, and grew up in

Caldwell County, North Carolina. Defendant’s mother and sister both continue to reside in Caldwell

County. Defendant has been unemployed for the last three (3) years. Defendant’s prior criminal

record consists of convictions in 2003 for possession of drug paraphernalia and obtaining a

controlled substance by forgery. Defendant’s probation was also revoked in 2003 and Defendant

served a forty-five (45) day active sentence. As a result of related state charges, Defendant has

been incarcerated at the Caldwell County Jail since March 2006. Critically, Defendant has a history

of substance abuse although Defendant claims to have quit using methamphetamine as soon as

she learned of the pregnancy. To date, Defendant has not received or participated in any

substance abuse treatment. The Magistrate Judge commented that, absent Defendant’s youth

and pregnancy, he would require her to participate in the 45-day treatment program prior to

considering release. The Magistrate Judge was also impressed with the strong family support in

this case. However, the undersigned is of the view that detaining Defendant is actually in her best

interest, as well as the best interest of the community and her unborn child.

        Finally, the Court must examine the danger to any person or the community that would be

posed by the Defendant's release. Based on the discovery of a .25 caliber handgun at the time of

her arrest, the Court cannot affirmatively find that Defendant poses no danger to the community.

Further, the Court wholeheartedly agrees with the Magistrate Judge that immediate inpatient drug

treatment is, in fact, ideal notwithstanding the fact that Defendant is pregnant. Defendant may

request that this Court review her eligibility for bond upon successful completion of the inpatient

drug treatment program.



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            Reportedly, the father of Defendant’s unborn child is a co-defendant. Defendant stated in the
detention hearing that she was no longer rom antically involved with the father.

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     Case 5:06-cr-00035-KDB-DCK                 Document 92          Filed 08/14/06       Page 3 of 4
          Taking all of the factors into consideration, the Court finds that no condition or combination

of conditions of bond will reasonably assure the appearance of the Defendant and the safety of

other persons and the community.

          IT IS, THEREFORE, ORDERED that the Government’s motion to revoke the Magistrate

Judge’s release order entered by the Magistrate Judge is hereby GRANTED. Accordingly,

Defendant shall remain in custody pending further order from this Court.

          IT IS FURTHER ORDERED that the Clerk shall certify copies of this Order to Defense

Counsel, the United States Attorney, the United States Marshal, and the United States Probation

Office.




                                                    Signed: August 14, 2006




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    Case 5:06-cr-00035-KDB-DCK                Document 92        Filed 08/14/06      Page 4 of 4
